Case 2:07-cr-00081-SAB   ECF No. 427   filed 02/19/08   PageID.916 Page 1 of 6
Case 2:07-cr-00081-SAB   ECF No. 427   filed 02/19/08   PageID.917 Page 2 of 6
Case 2:07-cr-00081-SAB   ECF No. 427   filed 02/19/08   PageID.918 Page 3 of 6
Case 2:07-cr-00081-SAB   ECF No. 427   filed 02/19/08   PageID.919 Page 4 of 6
Case 2:07-cr-00081-SAB   ECF No. 427   filed 02/19/08   PageID.920 Page 5 of 6
Case 2:07-cr-00081-SAB   ECF No. 427   filed 02/19/08   PageID.921 Page 6 of 6
